Case 2:16-mj-04025-MAH       Document 36      Filed 03/24/16    Page 1 of 2 PageID: 49




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA               :    Hon. Michael A Hammer

        V.                                    Mag. No, 16-4025

 EDWIN ALAMO, JR.,
 SAURO D. ESTEVEZ FIGUEREDO,
 EMMANUEL GONZALEZ,
 ALBERTO MORA, and
 PORFIRIO PERALTA-NU NEZ                      ORDER FOR A CONTINUANCE


        This matter having come before the Court on the joint application of Paul

 J. Fish man, United States Attorney for the District of New Jersey (by Meredith

 J. Williams, Assistant United States Attorney), and defendant Edwin Alamo, Jr.

  (by Chester Keller, Esq.), for an order granting   continuance of the

  proceedings in the above-captioned matter from the date this Order is signed

  through May 31, 2016 to permit defense counsel the reasonable time necessary

  for effective preparation in this matter and to allow the parties to conduct plea

  negotiations and attempt to finalize a plea agreement; and the defendant being

  aware that he has the right to have the matter submitted to a grand jury within

  30 days of the date of his arrest pursuant to Title 18, United States Code,

  Section 3161(b); and one prior continuance having been entered; arid the

  defendant, through his attorney, having consented to the continuance; and for

  good and suflicient cause shown,

        IT IS THE FINDING OF THIS COURT that this action should be

  continued for the following reasons:
                                 _____




Case 2:16-mj-04025-MAH       Document 36       Filed 03/24/16    Page 2 of 2 PageID: 50




       (1) Plea negotiations are currently in progress, and both the United

 States and the defendant seek additional time to achieve successful resolution

 of these negotiations, which would render any grand jury proceedings and any

 subsequent trial of this rriatter unnecessary;

       (2) The defendant has consented to the aforementioned continuance;

       (3) The grant of a continuance will likely conserve judicial resources; and

       (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

 of justice served by granting the continuance outweigh the best interests of the

 public and the defendant in a speedy trial.

       WHEREFORE, it is on this ay of March, 2016;

       ORDERED that this action be, and it hereby is, continued from the date

 this Order is signed through May 3 1, 2016; and it is further

       ORDERED that the period from the date this Order is signed through

  May 31, 2016 shall be excludable in comput      g time under the Speedy Trial

 Act of 1974.


                                         HONORABLE MICHAEL A HAMMER
                                         United States Magistrate Judge
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 Meredith J, Williams
 Assi        .9. Attorney


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  Chester Keller, Esq.
  Counsel for Defendant Edwin Alamo, Jr.
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